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 June 27, 2024

 The Honorable Michael E. Ridgway
 United States Bankruptcy Judge
 300 S 4th Street
 Minneapolis, MN 55415

        RE: In re Shadrea Letrise Foreman
            Bankruptcy Case No. 24-30726


 AGREEMENT TO CONTINUE CHAPTER 13 CONFIRMATION HEARING

 Dear Judge Ridgway,

 My client, Nationstar Mortgage LLC, agrees to a continuance of the confirmation hearing
 scheduled for July 2, 2024 to the August calendar term, in the above-referenced case.

 Please contact me with any questions or concerns. Thank you.

 Respectfully,

 /e/ Samuel R. Coleman
 Samuel R. Coleman



  cc:        Counsel for the Chapter 13 Trustee (via ECF)
             Matthew M. Tande, Esq. Debtor’s Counsel (via ECF)
